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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


   INVENSAS CORPORATION,

               Plaintiff,
                                           Civil Action No. 2:17-cv-670 [RWS/RSP]
      vs.

   SAMSUNG ELECTRONICS CO., LTD.           JURY TRIAL DEMANDED
   and SAMSUNG ELECTRONICS
   AMERICA, INC.,

               Defendants.



   DEFENDANTS’ OBJECTIONS PURSUANT TO RULE 72(A) OF THE MAGISTRATE
        JUDGE’S CLAIM CONSTRUCTION OPINION AND ORDER (D.I. 193)
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          The Samsung Defendants respectfully object to the Magistrate Judge’s Claim Construction

  And Order (D.I. 193, “Markman Order”) for certain terms in U.S. Patent Nos. 6,232,231 (’231

  Patent), 6,849,946 (’946 Patent), and 6,054,336 (’336 Patent).

  I.      U.S. PATENT NOS. 6,232,231 (CLAIMS 1-8) AND 6,849,946 (CLAIMS 16-22)

          A.      “substantially planar / co-planar” (’946, Cl. 16-17; ’231, Cl. 1, 4)

   Plaintiff                                                      Defendants           Court
   Plain and ordinary meaning, no construction necessary.         Indefinite           Plain and
   Alternatively: Substantially planar: “substantially flat or                         ordinary
   level”;                                                                             meaning
   Substantially co-planar: “substantially at the same elevation”

          Under Nautilus, Inc. v. Biosig Instruments, Inc., a “patent is invalid for indefiniteness if its

  claims, read in light of the specification delineating the patent, and the prosecution history, fail to

  inform, with reasonable certainty, those skilled in the art about the scope of the invention.” 134

  S. Ct. 2120, 2124 (2014). Applying Nautilus, the Federal Circuit has held that terms of degree are

  indefinite when the intrinsic record fails to establish “some objective standard for measuring the

  degree.” Interval Licensing LLC v. AOL, Inc., 766 F.3d 1364, 1370 (Fed. Cir. 2014). Courts have

  accordingly found terms of degree that use the phrase “substantially” indefinite where the intrinsic

  evidence disclosed no objective bounds of “substantially.”              E.g., Geodynamics, Inc. v.

  Dynaenergetics US, Inc., No. 2:15-CV-1546-RSP, 2016 WL 6217181, at *15-16 (E.D. Tex. Oct.

  25, 2016) (finding “substantially equal to the total depth of penetration” indefinite because the

  intrinsic evidence provided no guidance as to “when the clear tunnel depth is no longer

  ‘substantially equal’ to the total depth of the tunnel.”).

          Under Nautilus and its progeny, the terms “substantially planar/co-planar” are indefinite

  because they purport to define the degree of planarity or flatness of a surface within a

  semiconductor chip, yet the intrinsic record discloses no objective boundary between a surface that

  is “substantially planar/co-planar” and one that is not. The Markman Order cites no guiding



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  disclosure in the intrinsic evidence. Instead, the order observes that “perfect planarization . . .

  might be unattainable at an atomic level” and “‘substantially planar’ and ‘substantially coplanar’ .

  . . relate to avoiding the formation of elevational disparities during the manufacturing process.”

  D.I. 193 at 7. But “a patent does not satisfy the definiteness requirement of § 112 merely because

  ‘a court can ascribe some meaning to a patent's claims.’” Interval Licensing LLC v. AOL, Inc.,

  766 F.3d 1364, 1371 (Fed. Cir. 2014) (emphasis original; citing Nautilus). Moreover, the order’s

  observations only highlight the fundamental ambiguity with “substantially planar/co-planar.

  Although “perfect planarization” is not required, the intrinsic evidence never discloses what degree

  of planarization is required or, conversely, what degree of elevational disparities is permissible.

          In briefing and at the hearing, Invensas relied on text at column 1, lines 28 to 48 of the

  specification as disclosing the objective criteria of a surface that is “sufficiently flat . . . to build

  the subsequent layers of a semiconductor chip.” D.I. 123, 10. But the cited text never uses the

  terms “substantially planar/co-planar” or otherwise describes the patents’ goals. ’231, 1:28-48. In

  any event, Invensas criteria of “sufficiently flat” is subjective and context-dependent. As its expert

  Dr. Kanicki stated: “the degree of planarity required will vary depending on the tolerances of the

  particular fabrication process step used during the manufacture of a given chip—including process

  node, desired feature size, and the depth-of-focus.” D.I. 123-2, ¶57. Similarly, inventor Mr.

  Sethuraman testified that “[e]very customer has their own way of describing what is needed” for

  planarity and “[w]ithout knowing the context, I cannot tell you” if a surface is “substantially

  coplanar.” D.I. 134, Ex. B at 43:23-44:2, 123:2-11. On similar facts in Icon Health & Fitness,

  Inc. v. Polar Electro Oy, the Federal Circuit found terms indefinite when their meanings varied

  “from person-to-person” and could “have meaning only in the context of a defined reference” that

  the intrinsic evidence did not identify. 656 F. App’x 1008, 1013-15 (Fed. Cir. 2016).

          Because “substantially planar/co-planar” are terms of degree that depend on subjective



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  preferences and contexts that are not resolved by the intrinsic evidence, they are indefinite.

  II.    U.S. PATENT NO. 6,054,336 (CLAIMS 1-2)

         A.      “forming a conductor pattern on the conductive layer” (Cl. 1)

   Plaintiff                       Defendants                            Court
   “forming a pattern to be        “forming a pattern in the             “forming a pattern to be
   transferred to the              conductive layer with gaps            transferred to the
   conductive layer”               corresponding to the auxiliary        conductive layer”
                                   windows”

         The parties’ first dispute is whether the “conductor pattern” is (1) on top of and “to be

  transferred” to the “conductive layer (as Invensas proposes) or (2) “in the conductive layer” (as

  Samsung proposes).      In adopting Invensas’s position, the Markman Order disregards the

  specification’s consistent use of “conductor pattern” to refer to a pattern formed in the conductive

  layer, not on top of it. E.g., ’336, 2:2-11 (“[a]ccording to the invention . . . the conductor pattern

  is formed in the conductive layer.”), 1:5-9 (“a conductive layer is provided on an electrically

  insulating substrate, from which layer a conductor pattern is formed.”). The order instead reasons

  that Claim 1 covers steps depicted in Figures 1(a)-(g) of the specification where a pattern is formed

  on top of the conductive layer, while dependent Claim 5 covers a later step depicted in Figure 1(h)

  where that pattern is transferred into the conductive layer. D.I. 173 at 14. The order misconstrues

  the relationship between Claims 1 and 5 and the specification’s figures. The specification discloses

  two alternative embodiments for forming a “conductor pattern” in the “conductive layer” — either

  through oxidation of exposed portions as in Figure 1(g)-(h) or through etching the conductive layer

  as in Figures 2(a)-(b). ’336, 4:11-42 (describing oxidation method), 4:43-64 (describing etching

  method). Claim 1 is not limited to either embodiment and therefore covers both possible

  embodiments for forming a “conductor pattern” in the conductive layer. By contrast, Claim 5 is

  limited to the embodiment of Figures 1(g)-(h) where “exposed portions of the conductive layer . .

  . are oxidized throughout their entire thickness.” Thus, Claim 5 does not cover a later step, that



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  follows Claim 1, of transferring a pattern to the “conductive layer” — rather it limits the method

  to one embodiment for forming the “conductor pattern” in the “conductive layer.”

         The Markman Order provides no guidance regarding the second dispute of whether the

  recited “pattern” must consist of “gaps corresponding to the auxiliary windows.” The order’s

  omission of this requirement leaves the form of the recited “pattern” unbounded, which is

  inconsistent with the ’336 Patent’s purpose and disclosure. The patent’s purpose is to form gaps

  in a conductor pattern that are smaller than the gaps that could be formed using lithography. ’336,

  Abstract, 1:64-67, 3:3-18. It discloses achieving this goal using only one method: by first forming

  gaps or “auxiliary windows” using lithography, and then narrowing these “auxiliary windows”

  using spacers and etching to ultimately form narrower gaps in the “conductive layer.” Id., Figs.

  1a-g, 3:45-4:19. If any gaps were formed outside of and without using “auxiliary windows” — as

  the Markman Order allows — then there is no method disclosed in the patent for making those

  gaps smaller than what could be achieved using lithography, thus defeating the patent’s purpose.

  Praxair, Inc. v. ATMI, Inc., 543 F.3d 1306, 1324 (Fed. Cir. 2008) (holding that claims must be

  construed in a manner that “achieve[s] the overall object of the invention”).

         B.      “continuing etching anisotropically through the auxiliary window and the
                 spacers to define the windows at the conductive layer” (Cl. 1)

   Plaintiff                 Defendants                                             Court
   Plain and ordinary        “without interruption, to go on etching                Plain and
   meaning, no               anisotropically the first dielectric layer to define   ordinary
   construction necessary.   windows at the conductive layer only within the        meaning
                             auxiliary window”

         For the parties’ first dispute regarding the location of the “windows at the conductive

  layer,” Samsung proposes that these windows are defined “only with in the auxiliary window[s]”

  because this requirement is consistent with the ’336 Patent’s disclosed method for ensuring that

  the “windows at the conductive layer” are smaller than the “auxiliary windows.” The Markman

  Order rejects Samsung’s proposal on grounds that Claim 1 “already limits the size of the auxiliary

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  windows relative to the windows” at the conductive layer and “[t]here is no basis for further

  limiting the scope of the disputed phrase.” D.I. 193 at 15-16. But Claim 1 merely limits a result

  — that the “windows at the conductive layer” must be smaller than the “auxiliary windows.”

  Claim 1’s plain language, however, does not limit how it achieves that result to the ’336 Patent’s

  only disclosed method — that the “windows at the conductive layer” can be defined only within

  “auxiliary windows.” ’336, Figs. 1d-f, 3:59-4:11. By adopting plain meaning, the order broadens

  Claim 1’s scope to exceed the specification’s only disclosed method and thereby permits Invensas

  to assert infringement against other, undisclosed methods of forming narrower windows that do

  not require forming them within the “auxiliary windows.” See Alloc, Inc. v. Int’l Trade Comm’n,

  342 F.3d 1361, 1370 (Fed. Cir. 2003) (“where the specification makes clear . . . that the claimed

  invention is narrower that the claim language might imply, it is entirely permissible and proper to

  limit the claims”).

         For the parties’ second dispute, the order does not address Samsung’s revised position

  presented at the Markman hearing that the “continuing etching” language in Claim 1 does not

  permit any intervening steps between “etching” and “continuing etching.” 8/22/18 Markman Tr

  at 97:17-102:21. To hold otherwise is contrary to the plain meaning of “continuing.” It is also

  contrary to the specification’s disclosure that “continuing etching” follows directly after the prior

  “etching” step, with both steps etching oxide layers. ’336, 3:62-4:11. The specification never

  suggests any intervening steps such as adding other layers or etching different, non-oxide layers.

  III.   CONCLUSION

         For the reasons stated above and in Samsung’s prior Markman briefing and oral arguments,

  Samsung objects to the constructions discussed above for the ’231, ’946, and ’336 Patents.




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        Dated: November 9, 2018      Respectfully submitted,

                                      By: /s/ Ryan K. Yagura

                                     Ryan K. Yagura (Tex. Bar No. 24075933)
                                     ryagura@omm.com
                                     Brian M. Berliner (Cal. Bar No. 156732)
                                     bberliner@omm.com
                                     Anthony G. Beasley (Tex. Bar No. 24093882)
                                     tbeasley@omm.com
                                     Xin-Yi Zhou (Cal. Bar No. 251969)
                                     vzhou@omm.com
                                     O’MELVENY & MYERS LLP
                                     400 S. Hope Street
                                     Los Angeles, CA 90071
                                     Telephone: 213-430-6000

                                     Darin W. Snyder (Cal. Bar No. 136003)
                                     dsnyder@omm.com
                                     Mark Liang (Cal. Bar No. 278487)
                                     mliang@omm.com
                                     O’MELVENY & MYERS LLP
                                     Two Embarcadero Center, 28th Floor
                                     San Francisco, CA 94111
                                     Telephone: 415-984-8700

                                     D. Sean Trainor (D.C. Bar No. 463514)
                                     dstrainor@omm.com
                                     Mishima Alam (D.C. Bar No. 1027654)
                                     malam@omm.com
                                     O’MELVENY & MYERS LLP
                                     1625 Eye Street NW
                                     Washington, DC 20037
                                     Telephone: 202-383-5300

                                     Melissa R. Smith
                                     melissa@gillamsmithlaw.com
                                     GILLAM & SMITH, LLP
                                     303 South Washington Avenue
                                     Marshall, TX 75670
                                     Telephone: 903-934-8450

                                      Attorneys for Defendants Samsung Electronics
                                      Co., Ltd. and Samsung Electronics America, Inc.




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                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that all counsel of record who are deemed to have
  consented to electronic service are being served with a copy of this document via the Court’s
  CM/ECF system per Local Rule CV-5(a)(3) on November 9, 2018.


                                                    /s/ Ryan Yagura




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